     Case 4:21-cr-00009 Document 240-1 Filed on 01/07/22 in TXSD Page 1 of 1




                            UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF TEXAS
                                 HOUSTON DIVISION


                                             §
UNITED STATES OF AMERICA,
                                             §
         Plaintiff,                          §
    v.                                       §
                                             § Cr. No. 4:21cr 009 GCH

ROBERT T. BROCKMAN,                          §
                                             §

         Defendant.                          §
                                             §
                                             §




                  ORDER ADOPTING UNOPPOSED DISCOVERY PROTOCOL

         For good cause shown, and upon consideration of the Parties’ Discovery Protocol as to

Outstanding Tamine Materials (the “Discovery Protocol”), IT IS HEREBY ORDERED that the

Discovery Protocol is adopted by the Court. The United States shall produce the materials

subject to the Discovery Protocol in accordance with the terms set forth therein.

SO ORDERED this ____ day of January, 2022




                                                 GEORGE C. HANKS
                                                 United States District Judge




 ORDER
 Case No. 4:21-cr-009 GCH
